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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

LIGIA COLCERIU,

      Plaintiff,

v.                                                Case No: 8:20-cv-1425-MSS-AAS

JAMIE BARBARY and
ENGELHARDT & CO. LLC,

      Defendants.



                                      ORDER

      THIS CAUSE comes before the Court for consideration of Defendants

Engelhardt & Co., LLC and Jamie Barbary’s Motion for Rule 11 Sanctions, (Dkt. 49),

Motion to Tax Deposition Expenses, (Dkt. 70), Motion to Determine Entitlement to

Attorney’s Fees and Costs, (Dkt. 71), and Plaintiff’s responses in opposition thereto.

(Dkts. 52 and 76) On June 8, 2022, United States Magistrate Judge Amanda Arnold

Sansone issued a Report and Recommendation, which recommended that

Defendants’ Motion to Tax Deposition Expenses be GRANTED and Defendants’

Motion to Determine Entitlement to Attorney’s Fees and Costs be DENIED. (Dkt.

78) Defendants filed a timely objection to Judge Sansone’s Report and

Recommendation. (Dkt. 79) Thereafter, Plaintiff filed a timely response. (Dkt. 82)

      In the Eleventh Circuit, a district judge may accept, reject, or modify the

magistrate judge's report and recommendation after conducting a careful and complete



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review of the findings and recommendations. 28 U.S.C. § 636(b)(1); Williams v.

Wainwright, 681 F.2d 732, 732 (11th Cir. 1982). A district judge “shall make a de novo

determination of those portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C). This requires

that the district judge “give fresh consideration to those issues to which specific

objection has been made by a party.” Jeffrey S. v. State Bd. of Educ., 896 F.2d 507,

512 (11th Cir.1990) (quoting H.R. 1609, 94th Cong. § 2 (1976)). In the absence of

specific objections, there is no requirement that a district judge review factual findings

de novo, Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993), and the court may

accept, reject, or modify, in whole or in part, the findings and recommendations. 28

U.S.C. § 636(b)(1)(C). The district judge reviews legal conclusions de novo, even in the

absence of an objection. See Cooper-Houston v. Southern Ry., 37 F.3d 603, 604 (11th

Cir. 1994).

       Defendants     raise   three   objections   to   Judge   Sansone’s    Report    and

Recommendation. (Dkt. 79) Defendants argue that this Court should not adopt Judge

Sansone’s Report and Recommendation because her Report and Recommendation:

(i) “relies exclusively on Florida district court cases involving dismissal of state law

claims for lack of diversity or a court’s choice not to exercise supplemental

jurisdiction;” (ii) overlooks binding precedent in Hyde v. Irish, 962 F.3d 1306, 1309

(11th Cir. 2020); and (iii) applies an incorrect and outdated standard with respect to a

prevailing party’s entitlement to attorneys’ fees. (Id. at 5-13) Plaintiff’s response argues




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that the legal authority, upon which the Defendants rely, is inapposite or irrelevant.

(Dkt. 82)

      On review, the Court is of the opinion that the Report and Recommendation

should be adopted, confirmed, and approved. The Court is unpersuaded by the

Defendants’ case illustrations and instead the Court finds that the Magistrate Judge

correctly determined that the Defendants are not entitled to Attorneys’ fees under

Florida’s RICO statute or the FDUPTA. The Court also finds that Defendants are not

entitled to Attorneys’ fees because they do not meet the definition of prevailing party,

as recently clarified by the Eleventh Circuit in Royal Palm Props., LLC v. Pink Palm

Props., LLC, No. 21-10872, --- F.4th --- 2022 WL 2517159, at *3 (11th Cir. July 7,

2022). As such, Defendants’ first and third objections are OVERRULED.

      To the extent that Defendants seek Rule 11 sanctions, the Court finds that

Defendants failed to meet their burden of establishing Plaintiff’s objective bad faith.

Hyde, 962 F.3d at 1310. Defendants argue that Plaintiff should be sanctioned pursuant

to FRCP Rule 11 for three reasons. First, Defendants argue that Rule 11 sanctions are

warranted because “Plaintiff filed [] false allegations without investigating them

adequately, and then knowingly proceeded with a lawsuit where the fundamental

premises behind her case are false.” (Dkt. 49 at 6) Second, Defendants argue that Rule

11 sanctions are warranted because Plaintiff “fil[ed] and pursu[ed] frivolous claims for

which she does not have Article III standing.” (Id. at 7) Third, Defendants argue that

Rule 11 sanctions are warranted because Plaintiff continued to pursue this lawsuit

“even after she was put on notice” that her claims were deficient. (Id. at 10) Plaintiff’s


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response argues against the imposition of Rule 11 sanctions because Plaintiff contends

that “the allegations of the Complaint are reasonable and the legal theories are sound.”

(Dkt. 52 at 13) Plaintiff further argues that Defendants purport to use their sanctions

motion as a vehicle to obtain an improper dismissal of this case and to harass the

Plaintiff. (Id. at 14-15)

       When a district court is tasked with deciding whether to impose sanctions under

Rule 11 of the Federal Rules of Civil Procedure, the Eleventh Circuit requires that the

lower court conduct a two-step review. Jones v. Int’l Riding Helmets, Ltd., 49 F.3d

692, 695 (11th Cir. 1995) First, the court must determine “whether the party’s claims

are objectively frivolous–in view of the facts or law.” Id. Second, if the claims are

deemed frivolous, the court must determine “whether the person who signed the

pleadings should have been aware that they were frivolous; that is, whether he would

have been aware had he made a reasonable inquiry.” Id. (citation omitted).

Reasonableness of the inquiry will depend on a number of factors as outlined in the

Advisory Committee Note to Rule 11. See Worldwide Primates, Inc. v. McGreal, 87

F.3d 1252, 1254 (11th Cir. 1996).

       In the present case, Plaintiff’s First Amended Complaint was dismissed without

prejudice because of Plaintiff’s “continued failure to establish Article III standing.”

(Dkt. 69) Plaintiff’s original complaint purported to establish Article III standing by

alleging that she followed 62 social media accounts and was not ever contacted back

about the results of any scheduled Instagram lottery and did not receive a prize. (Dkt.

1 at ¶ ¶ 54-57) The Court found these allegations to be insufficient to establish an


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injury-in-fact. (Dkt. 43) Plaintiff’s First Amended Complaint purported to establish

Article III standing by articulating that Plaintiff: (i) researched Defendants’ social

media operation and some affiliated influencers; (ii) followed 62 unrelated social

media accounts; (iii) subjected herself to pornographic and quasi-pornographic content

posted by some of the unrelated users for the duration of the lottery; (iv) investigated

lottery winners to no avail; and (v) wasted her time unfollowing the unrelated accounts

after her unsuccessful participation in the lottery. (Dkt. 44 at ¶ ¶ 64-67, 70, and 82) In

between the filing of both complaints, Defendants mailed Plaintiff two similar letters

which offered Plaintiff the option either to dismiss this action with prejudice or amend

her filing. (Dkt. 49-1 at 14-18)

       Given the substantive changes between the two complaints and the novel and

complex nature of social media, this Court finds that Plaintiff’s maintenance of the

suit was not objectively frivolous. See Anderson v. Smithfield Foods, Inc., 353 F.3d

912, 915 (11th Cir. 2003) (refusing to conclude that only an unreasonable lawyer

would have made the RICO claims because “scant on-point authority [existed] to

guide the [] lawyer”); Davis v. Carl, 906 F.2d 533, 538 (11th Cir. 1990) (holding that

“creative claims, coupled even with ambiguous or inconsequential facts, may merit

dismissal, but not punishment.”) Therefore, the Court, having determined step one in

the negative, does not reach step two of the Rule 11 sanctions inquiry. Benavides v.

Miami Atlanta Airfreight, Inc., 612 F. Supp. 2d 1236, 1239 (S.D. Fla. 2008) (ending

the Rule 11 sanctions inquiry after determining that the claims were objectively

frivolous). As such, Defendants’ second objection is OVERRULED.


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       Accordingly, it is ORDERED that:

      1.    The Report and Recommendation, (Dkt. 78), is CONFIRMED and

            ADOPTED as part of this Order.

      2.    Defendants’ Motion for Rule 11 Sanctions, (Dkt. 49), is DENIED.

      3.    Defendants’ Motion to Tax Deposition Expenses, (Dkt. 70), is

            GRANTED in the amount of $232.50 payable by the Plaintiff to the

            Defendants.

      4.    Defendants’ Motion to Determine Entitlement to Attorney’s Fees and

            Costs, (Dkt. 71), is DENIED.

      5.    The CLERK is directed to CLOSE THIS CASE.

      DONE and ORDERED in Tampa, Florida, this 16th day of August 2022.




Copies furnished to:
Counsel of Record
Any Unrepresented Person




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